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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 UNITED STATES OF AMERICA,                     CR 16-107-BLG-SPW-06

                          Plaintiff,
                                               FINAL ORDER OF
             vs.                               FORFEITURE


  JASON EARL NELSON,

                          Defendant.


      Whereas, in the indictment in the above-captioned case, the United States

sought forfeiture, pursuant to 21 U.S.C. § 853, of any real or personal property of

the defendant used or intended to be used to facilitate, or as proceeds of said

violation;

      And whereas, on May 26, 2017, Jason Earl Nelson entered into a plea

agreement wherein he agreed to plead guilty to count III of the indictment, which

charged him with possession with intent to distribute methamphetamine;


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      And whereas, the defendant, pursuant to the plea agreement with the United

States, agreed not to contest, or assist others in contesting, the forfeiture sought in

the charging document to which the defendant pleaded guilty;

      And whereas, by virtue of said guilty plea, the United States is entitled to

possession of said property, pursuant to 21 U.S.C. §§ 841(a)(l) and 853, and Rule

32.2(b)(2) of the Federal Rules of Criminal Procedure;

      And whereas, beginning on June 6, 2017, and ending on July 5, 2017, the

United States published on an official government internet site

(www.forfeiture.gov), notice of this forfeiture and of the United States' intent to

dispose of the property listed below in accordance with federal law, under 21

U.S.C. § 853(n)(l):

          • a Springfield Armory Model XDM-40 .40 caliber semi-automatic
            handgun (serial number MGI88867);

          • a Hi-Point Model CF380 .380 caliber semi-automatic handgun (serial
            number P872687); and

          • a Springfield Armory Model XDM-45ACP Compact 3.8.45 caliber
            semi-automatic handgun (serial number MG591315).

      And whereas, the Court has been advised that no claims have been made in

this case regarding the property and the United States is not aware that any such

claims have been made;


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      ACCORDINGLY, IT IS HEREBY ORDERED as follows:

      1.   The United States shall seize the forfeited property described above;

      2.   The right, title, and interest in the property is condemned, forfeited, and

vested in the United States of America for disposition according to applicable law;

      3.   All forfeited funds shall be deposited forthwith by the United States

Marshal into the Department of Justice Asset Forfeiture Fund in accordance with

21 U.S.C. § 853(n)(l); and

      4.   The Clerk is directed to send copies of this order to all counsel of record

and the defendant.   The Clerk is further directed to send three certified copies of

this order to the United States Marshal.
                         .s 'f
      DATED this o(! day of August, 2017.



                                 'SiJSANP:WATTERS
                                  United States District Court Judge




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